          Case 1:22-cv-03401-TWT           Document 14            Filed 11/07/22   Page 1 of 1




      Rebecca Shanlever         HALL, GILLIGAN, ROBERTS & SHANLEVER LLP            Direct 404.537.5520
                                3340 Peachtree Road NE, Suite 1900             rshanlever@hgrslaw.com
                                        Atlanta, Georgia 30326

                                           November 7, 2022



Honorable Justin S. Anand
ATTN: Ms. Belqyis Evans, Courtroom Deputy Clerk
1868 United States Courthouse
75 Ted Turner Dr., SW Atlanta, GA 30303-3309
Belqyis_evans@gand.uscourts.gov

          Re:      Emory University, et al. v. Shanequa McCrae
                   Civil Action File No.: 1:22-cv-03401-TWT-JSA

Dear Ms. Evans:

       Pursuant to Local Rule 83.1E(3) NDGa, the undersigned hereby gives notice of leave of
absence of less than 21 days and requests that this matter not be calendared during said period of
absence. The purpose of the leave of absence is for out-of-state travel. The proposed dates of
absence are as follows:

•         November 21-25, 2022
•         December 9, 2022
•         December 19-23, 2022

       If you have any questions or concerns, please do not hesitate to let me know. Thank you
for your attention to this matter.

                                                 Sincerely yours,

                                                 /s/ Rebecca Shanlever

                                                 Rebecca Shanlever

cc:       Christopher G Moorman (E-service)
          Megan Sarah Goddard (E-service)
          L'Erin Barnes Wiggins (E-service)

RWS/aei




                                ATLANTA | SAVANNAH | SEAGROVE BEACH
                                          www.hgrslaw.com
